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 6                                         UNITED STATES DISTRICT COURT
 7                                         EASTERN DISTRICT OF CALIFORNIA
 8
 9   CHAY’IM BEN-SHOLOM                               )    Case No. 1:93-CV-05531 AWI
     a.k.a. Ryan Michael Marshall,                    )
10                                                    )    DEATH PENALTY CASE
                                Petitioner,           )
11                                                    )    ORDER DENYING RESPONDENT’S
              vs.                                     )    REQUEST TO STAY DIRECTIVE TO STATE
12                                                    )    COURT TO VACATE PETITIONER’S
     ROBERT L. AYERS, JR., as Warden                  )    DEATH SENTENCE
13   of San Quentin State Prison,                     )
                                                      )
14                              Respondent.           )
                                                      )
15
16            This matter is before the Court on the September 30, 2008 renewed request by Respondent
17   Robert L. Ayers, Jr., as Warden of San Quentin State Prison (the “Warden”) to stay the July 11, 2008
18   order directing the State of California to set aside the death sentence of Petitioner Chay’im Ben-Sholom
19   (“Ben-Sholom”) in People v. Ryan Michael Marshall, Tulare County Superior Court Case No. 23087,
20   and either resentence him to a prison term of life without parole or initiate proceedings to retry the
21   penalty phase within 90 days. Although the Warden did not appeal this ruling, Ben-Sholom appealed
22   the denial of his guilt and special circumstance claims. The Court denied the Warden’s stay request
23   without prejudice on August 28, 2008 because there was no showing that the Tulare County District
24   Attorney intended to retry Ben-Sholom’s penalty.
25            The Warden now informs the Court that on September 24, 2008, the Tulare County District
26   Attorney, representing the People of the State of California, filed a Notice of Intent to Seek the Death
27   Penalty on Return from Writ of Habeas Corpus in Ben-Sholom’s state court case. A facsimile copy of
28   the conformed copy of this filing is presented in the Warden’s renewed stay request. Having

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 1   demonstrated to the Court that the Tulare County District Attorney intends to retry Ben-Sholom’s
 2   penalty, the Warden renews his request that the Court stay the July 11, 2008 order.
 3            The Notice of Intention to Seek the Death Penalty against Ben-Sholom, however, complies with
 4   the Court’s July 11, 2008 order directing the State of California either to vacate Ben-Sholom’s death
 5   sentence and resentence him to life with out parole or to initiate proceedings to retry his death sentence
 6   within 90 days. The decision as to whether the retrial on Ben-Sholom’s penalty phase should proceed
 7   immediately, or await the decision of the Ninth Circuit on the guilt phase claims is before the Tulare
 8   County Superior Court. This Court will not interfere in the administration of case management issues
 9   in the state tribunal.
10            Because the condition specified in the July 11, 2008 order has been satisfied, namely the
11   initiation of proceedings to retry Ben-Sholom’s penalty within 90 days, the Warden’s request to stay that
12   order is denied.
13
14   IT IS SO ORDERED.
15
16   Dated:      September 30, 2008                                     /s/ Anthony W. Ishii
                                                                          Anthony W. Ishii
17                                                                 United States District Judge
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